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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

NIJEER PARKS
Plaintiff CIVIL ACTION
No: 2:21-cv-04021 JXN- LDW
Vs

JOHN E. McCORMACK, MAYOR OF
WOODBRIDGE, et alii

Defendants NOTICE OF VOLUNTALRY
DISMISSAL PURSUANT TO
FRCP 41(a)(1)(A)(i)

Pursuant to F.R.C.P. 41(a)(1)(A)@) — of the Federal Rules of Civil procedure the plaintiffs
and their counsel hereby give notice that the above referenced action is voluntarily dismissed,
without prejudice against Defendants Middlesex County Prosecutor, Acting Prosecutor Christopher
Kubertet, in his individual and official capacity, and Assistant County Prosecutor, Peter Natasi, in his
individual and official capacity.

Date: July 23, 2023 A“ CH

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